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Proposed Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                     )
In re:                                               )      Chapter 11
                                                     )
REVLON, INC.,                                        )      Case No. 22-10760 (___)
                                                     )
                       Debtor.                       )
                                                     )
Tax I.D. No. XX-XXXXXXX                              )
                                                     )
                                                     )
In re:                                               )      Chapter 11
                                                     )
ALMAY, INC.,                                         )      Case No. 22-10770 (___)
                                                     )
                       Debtor.                       )
                                                     )
Tax I.D. No. XX-XXXXXXX                              )
                                                     )
                                                     )
In re:                                               )      Chapter 11
                                                     )
ART & SCIENCE, LTD.,                                 )      Case No. 22-10774 (___)
                                                     )
                       Debtor.                       )
                                                     )
Tax I.D. No. XX-XXXXXXX                              )
                                                     )
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In re:                                               )      Chapter 11
                                                     )
BARI COSMETICS, LTD.,                                )      Case No. 22-10786 (___)
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                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )   Chapter 11
                                              )
BEAUTYGE BRANDS USA, INC.,                    )   Case No. 22-10795 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BEAUTYGE I,                                   )   Case No. 22-10801 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BEAUTYGE II, LLC,                             )   Case No. 22-10803 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BEAUTYGE U.S.A., INC.,                        )   Case No. 22-10800 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )   Chapter 11
                                              )
BRANDCO ALMAY 2020 LLC,                       )   Case No. 22-10762 (___)
                                              )
                    Debtor.                   )


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                                              )
Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )   Chapter 11
                                              )
BRANDCO CHARLIE 2020 LLC,                     )   Case No. 22-10764 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. N/A                              )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BRANDCO CND 2020 LLC,                         )   Case No. 22-10767 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )   Chapter 11
                                              )
BRANDCO CURVE 2020 LLC,                       )   Case No. 22-10771 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BRANDCO ELIZABETH ARDEN 2020 LLC,             )   Case No. 22-10773 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BRANDCO GIORGIO BEVERLY HILLS                 )   Case No. 22-10777 (___)
2020 LLC,                                     )
                                              )
                    Debtor.                   )
                                              )


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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )   Chapter 11
                                              )
BRANDCO HALSTON 2020 LLC,                     )   Case No. 22-10780 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BRANDCO JEAN NATE 2020 LLC,                   )   Case No. 22-10783 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BRANDCO MITCHUM 2020 LLC,                     )   Case No. 22-10789 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BRANDCO MULTICULTURAL GROUP                   )   Case No. 22-10792 (___)
2020 LLC,                                     )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BRANDCO PS 2020 LLC,                          )   Case No. 22-10797 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )


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                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BRANDCO WHITE SHOULDERS 2020 LLC,             )   Case No. 22-10798 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
CHARLES REVSON INC.,                          )   Case No. 22-10802 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
CREATIVE NAIL DESIGN, INC.,                   )   Case No. 22-10804 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
CUTEX, INC.,                                  )   Case No. 22-10805 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
DF ENTERPRISES, INC.,                         )   Case No. 22-10806 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )   Chapter 11
                                              )
ELIZABETH ARDEN (CANADA) LIMITED,             )   Case No. 22-10796 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
ELIZABETH ARDEN (FINANCING), INC.,            )   Case No. 22-10807 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
ELIZABETH ARDEN (UK) LTD.,                    )   Case No. 22-10793 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
ELIZABETH ARDEN INVESTMENTS, LLC,             )   Case No. 22-10808 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
ELIZABETH ARDEN NM, LLC,                      )   Case No. 22-10809 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )   Chapter 11
                                              )


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ELIZABETH ARDEN TRAVEL                        )   Case No. 22-10810 (___)
RETAIL, INC.,                                 )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
ELIZABETH ARDEN USC, LLC,                     )   Case No. 22-10761 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
ELIZABETH ARDEN, INC.,                        )   Case No. 22-10763 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
FD MANAGEMENT, INC.,                          )   Case No. 22-10765 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
NORTH AMERICA REVSALE INC.,                   )   Case No. 22-10768 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
OPP PRODUCTS, INC.,                           )   Case No. 22-10769 (___)


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                                               )
                       Debtor.                 )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
                                               )
In re:                                         )   Chapter 11
                                               )
PPI TWO CORPORATION,                           )   Case No. 22-10787 (___)
                                               )
                     Debtor.                   )
                                               )
Tax I.D. No. N/A                               )
                                               )
                                               )
                                               )   Chapter 11
In re:                                         )
                                               )   Case No. 22-10772 (___)
RDEN MANAGEMENT, INC.,                         )
                                               )
                      Debtor.                  )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
                                               )    Chapter 11
 In re:                                        )
                                                   Case No. 22-10775 (___)
                                               )
 REALISTIC ROUX PROFESSIONAL                   )
 PRODUCTS INC.,                                )
                                               )
                        Debtor.                )
                                               )
 Tax I.D. No. XX-XXXXXXX                       )
                                               )

In re:                                         )   Chapter 11
                                               )
REVLON CANADA INC.,                            )   Case No. 22-10799 (___)
                                               )
                       Debtor.                 )
                                               )
Tax I.D. No. – N/A                             )
                                               )
                                               )
In re:                                         )   Chapter 11
                                               )
REVLON CONSUMER PRODUCTS                       )   Case No. 22-10766 (___)


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CORPORATION,                                  )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
REVLON DEVELOPMENT CORP.,                     )   Case No. 22-10778 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
REVLON GOVERNMENT SALES, INC.,                )   Case No. 22-10781 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re                                         )   Chapter 11
                                              )
REVLON PROFESSIONAL HOLDING                   )   Case No. 22-10788 (___)
COMPANY LLC                                   )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
REVLON INTERNATIONAL                          )   Case No. 22-10785 (___)
CORPORATION,                                  )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
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In re:                                        )   Chapter 11
                                              )


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REVLON (PUERTO RICO) INC.,                      )   Case No. 22-10790 (___)
                                                )
                      Debtor.                   )
                                                )
Tax I.D. No. N/A                                )
                                                )
                                                )
In re:                                          )   Chapter 11
                                                )
RIROS CORPORATION,                              )   Case No. 22-10791 (___)
                                                )
                      Debtor.                   )
                                                )
Tax I.D. No. XX-XXXXXXX                         )
                                                )
                                                )
In re:                                          )   Chapter 11
                                                )
RIROS GROUP INC.,                               )   Case No. 22-10794 (___)
                                                )
                      Debtor.                   )
                                                )
Tax I.D. No. XX-XXXXXXX                         )
                                                )
                                                )
                                                )   Chapter 11
In re:                                          )
                                                )   Case No. 22-10784 (___)
RML, LLC,                                       )
                                                )
                      Debtor.                   )
                                                )
Tax I.D. No. N/A                                )
                                                )
                                                )
In re:                                          )   Chapter 11
                                                )
ROUX LABORATORIES, INC.,                        )   Case No. 22-10776 (___)
                                                )
                      Debtor.                   )
                                                )
                                                )
Tax I.D. No. XX-XXXXXXX                         )
                                                )
                                                )
In re:                                          )   Chapter 11
                                                )


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    ROUX PROPERTIES JACKSONVILLE,                                )   Case No. 22-10779 (___)
    LLC,                                                         )
                   Debtor.                                       )
                                                                 )
    Tax I.D. No. XX-XXXXXXX                                      )
                                                                 )
                                                                 )
    In re:                                                       )   Chapter 11
                                                                 )
    SINFULCOLORS INC.,                                           )   Case No. 22-10782 (___)
                                                                 )
                             Debtor.                             )
                                                                 )
    Tax I.D. No. XX-XXXXXXX                                      )
                                                                 )

                          DEBTORS’ MOTION FOR ENTRY
                 OF AN ORDER (A) DIRECTING JOINT ADMINISTRATION
             OF THE CHAPTER 11 CASES AND (B) GRANTING RELATED RELIEF

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion:

                                                Relief Requested1

             1.    By this motion, the Debtors seek entry of an order, substantially in the form

attached hereto as Exhibit A, (a) directing procedural consolidation and joint administration of

these chapter 11 cases and (b) granting related relief. Specifically, the Debtors request that the

United States Bankruptcy Court for the Southern District of New York (the “Court”) maintain one

file and one docket for all of the jointly administered cases under the case of Revlon, Inc., and that

the cases be administered under a consolidated caption, as follows:




1
      A description of the Debtors’ businesses, the reasons for commencing these chapter 11 cases, the relief sought
      from the Court to allow for a smooth transition into chapter 11, and the facts and circumstances supporting this
      motion are set forth in the Declaration of Robert M. Caruso, Chief Restructuring Officer, (I) in Support of First
      Day Motions and (II) Pursuant to Local Bankruptcy Rule 1007-2 (the “First Day Declaration”), filed
      contemporaneously herewith.



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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                             )
    In re:                                                   )    Chapter 11
                                                             )
    REVLON, INC., et al.1,                                   )    Case No. 22-10760 (___)
                                                             )
                                   Debtors.                  )    (Jointly Administered)
                                                             )

1     The last four digits of Debtor Revlon, Inc.’s tax identification number are 2955. Due to the
      large number of debtor entities in these Chapter 11 Cases, for which the Debtors have requested
      joint administration, a complete list of the debtor entities and the last four digits of their federal
      tax identification numbers is not provided herein. A complete list of such information may be
      obtained on the website of the Debtors’ proposed claims and noticing agent at
      https://cases.ra.kroll.com/Revlon. The location of the Debtors’ service address for purposes of
      these Chapter 11 Cases is: One New York Plaza, New York, NY 10004.

             2.   The Debtors further request that the Court order that the foregoing caption satisfies

the requirements set forth in section 342(c)(1) of title 11 of the United States Code, 11 U.S.C.

§§ 101–1532 (the “Bankruptcy Code”).

             3.   The Debtors also request that a docket entry, substantially similar to the following,

be entered on the docket of each of the Debtors’ cases other than the case of Revlon, Inc.:

                  An order has been entered in accordance with rule 1015(b) of the
                  Federal Rules of Bankruptcy Procedure directing the joint
                  administration of the chapter 11 cases of: Revlon, Inc., Case No.
                  22-10760 (___); Almay, Inc., Case No. 22-10770 (___); Art &
                  Science, Ltd., Case No. 22-10774 (___); Bari Cosmetics, Ltd., Case
                  No. 22-10786 (___); Beautyge Brands USA, Inc., Case No. 22-
                  10795 (___); Beautyge I, Case No. 22-10801 (___); Beautyge II,
                  LLC, Case No. 22-10803; Beautyge U.S.A., Inc., Case No. 22-
                  10800 (___); BrandCo Almay 2020 LLC, Case No. 22-10762 (___);
                  BrandCo Charlie 2020 LLC, Case No. 22-10764 (___); BrandCo
                  CND 2020 LLC, Case No. 22-10767 (___); BrandCo Curve 2020
                  LLC, Case No. 22-10771 (___); BrandCo Elizabeth Arden 2020
                  LLC, Case No. 22-10773 (___); BrandCo Giorgio Beverly Hills
                  2020 LLC, Case No. 22-10777 (___); BrandCo Halston 2020 LLC,
                  Case No. 22-10780 (___); BrandCo Jean Nate 2020 LLC, Case No.
                  22-10783 (___); BrandCo Mitchum 2020 LLC, Case No. 22-10789
                  (___); BrandCo Multicultural Group 2020 LLC, Case No. 22-10792
                  (___); BrandCo PS 2020 LLC, Case No. 22-10797 (___); BrandCo


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               White Shoulders 2020 LLC, Case No. 22-10798 (___); Charles
               Revson Inc., Case No. 22-10802 (___); Creative Nail Design, Inc.,
               Case No. 22-10804 (___); Cutex, Inc., Case No. 22-10805 (___);
               DF Enterprises, Inc., Case No. 22-10806 (___); Elizabeth Arden
               (Canada) Limited, Case No. 22-10796 (___); Elizabeth Arden
               (Financing), Inc., Case No. 22-10807 (___); Elizabeth Arden (UK)
               Ltd., Case No. 22-10793 (___); Elizabeth Arden Investments, LLC,
               Case No. 22-10808 (___); Elizabeth Arden NM, LLC, Case No. 22-
               10809 (___); Elizabeth Arden Travel Retail, Inc., Case No. 22-
               10810 (___); Elizabeth Arden USC, LLC, Case No. 22-10761 (___);
               Elizabeth Arden, Inc., Case No. 22-10763 (___); FD Management,
               Inc., Case No. 22-10765 (___); North America Revsale Inc., Case
               No. 22-10768 (___); PPI Two Corporation, Case No. 22-10787
               (___); OPP Products, Inc., Case No. 22-10769 (___); RDEN
               Management, Inc., Case No. 22-10772 (___); Realistic Roux
               Professional Products Inc., Case No. 22-10775 (___); Revlon
               Canada Inc., Case No. 22-10799 (___); Revlon Consumer Products
               Corporation, Case No. 22-10766 (___); Revlon Development Corp.,
               Case No. 22-10778 (___); Revlon Government Sales, Inc., Case No.
               22-10781 (___); Revlon International Corporation, Case No. 22-
               10785 (___); Revlon Professional Holding Company LLC, Case No.
               22-10788 (___); Revlon (Puerto Rico), Inc. Case No. 22-10790
               (___); Riros Corporation, Case No. 20-10791 (___); Riros Group
               Inc., Case No. 22-10794 (___); RML, LLC, Case No. 22-10784
               (___); Roux Laboratories, Inc., Case No. 22-10776 (___); Roux
               Properties Jacksonville, LLC, Case No. 22-10779 (___);
               SinfulColors Inc., Case No. 22-10782 (___). All further pleadings
               and other papers shall be filed in and all further docket entries shall
               be made in Case No. 22-10760 (___).

       4.      The Debtors also seek authority to fulfill their monthly operating report

requirements required by the Operating Guidelines and Reporting Requirements for Debtors in

Possession and Trustees, issued by the Office of the United States Trustee for the Southern District

of New York (the “U.S. Trustee”), in accordance with the applicable Instructions for UST Form

11-MOR: Monthly Operating Report.

                                     Jurisdiction and Venue

       5.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order of Reference from the United States District Court for the

Southern District of New York, dated January 31, 2012. The Debtors confirm their consent,


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pursuant to Rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to

the entry of a final order by the Court in connection with this motion to the extent that it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

       6.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       7.      The bases for the relief requested herein are section 105(a) of the Bankruptcy Code,

Bankruptcy Rule 1015(b), and Rule 9013-1(a) of the Local Bankruptcy Rules for the Southern

District of New York (the “Local Rules”).

                                          Basis for Relief

       8.      Bankruptcy Rule 1015(b) provides, in pertinent part, that “[i]f . . . two or more

petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may

order a joint administration of the estates.” Fed. R. Bankr. P. 1015. The Debtors are “affiliates”

as that term is defined in section 101(2) of the Bankruptcy Code. Accordingly, the Bankruptcy

Code and Bankruptcy Rules authorize the Court to grant the relief requested herein.

       9.      Section 105(a) of the Bankruptcy Code provides the Court with the power to grant

the relief requested herein by permitting the Court to “issue any order, process, or judgment that

is necessary or appropriate to carry out the provisions of [the Bankruptcy Code].” 11 U.S.C.

§ 105(a).

       10.     Joint administration is generally non-controversial, and courts in this jurisdiction

routinely order joint administration in cases with multiple, related debtors. See, e.g., In re

Pareterum Corporation, Case No. 22-10615 (LGB) (Bankr. S.D.N.Y. May 18, 2022); In re GTT

Communications, Inc., Case No. 21-11880 (MEW) (MEW) (Bankr. S.D.N.Y. Nov. 30, 2021); In

re GBG USA Inc., Case No. 21-11369 (MEW) (Bankr. S.D.N.Y. Sept. 1, 2021); In re Centric




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Brands Inc., Case No. 20-22637 (SHL) (Bankr. S.D.N.Y. July 17, 2020); In re LATAM Airlines

Group S.A., Case No. 20-11254 (JLG) (Bankr. S.D.N.Y. June 23, 2020).

        11.     Given the integrated nature of the Debtors’ operations, joint administration of these

chapter 11 cases will provide significant administrative convenience without harming the

substantive rights of any party in interest. Many of the motions, hearings, and orders in these

chapter 11 cases will affect each and every Debtor entity. The entry of an order directing joint

administration of these chapter 11 cases will reduce fees and costs by avoiding duplicative filings

and objections in each Debtor’s chapter 11 cases. Joint administration will also allow the

U.S. Trustee and all parties in interest to monitor these chapter 11 cases with greater ease and

efficiency by allowing such parties to focus on one case docket.

        12.     Moreover, joint administration will not adversely affect the Debtors’ respective

constituencies because this motion seeks only administrative, not substantive, consolidation of the

Debtors’ estates. Parties in interest will not be harmed by the relief requested; instead, parties in

interest will benefit from the cost reductions associated with the joint administration of these

chapter 11 cases. Accordingly, the Debtors submit that the joint administration of these chapter 11

cases is in the best interests of their estates, their creditors, and all other parties in interest.

                                            Motion Practice

        13.     This motion includes citations to the applicable rules and statutory authorities upon

which the relief requested herein is predicated and a discussion of their application to this motion.

Accordingly, the Debtors submit that this motion satisfies Local Rule 9013-1(a).

                                                  Notice

        14.     The Debtors will provide notice of this motion to: (a) the Office of the United States

Trustee for the Southern District of New York; (b) the holders of the 50 largest unsecured claims

against the Debtors (on a consolidated basis); (c) Proskauer Rose LLP, as counsel to MidCap


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Funding IV Trust, in its capacity as (i) administrative agent and collateral agent under the Debtors’

prepetition asset-based lending facility, (ii) administrative agent and collateral agent under the

ABL DIP Facility, and (iii) ABL DIP Lender; (d) Morgan Lewis & Bockius LLP, as counsel to

Crystal Financial LLC, in its capacity as administrative agent for the SISO Term Loan; (e) Alter

Domus, in its capacity as administrative agent for the Tranche B; (f) Latham & Watkins, LLP, as

counsel to Citibank N.A., in its capacity as 2016 Term Loan Agent; (g) Quinn Emanuel Urquhart

& Sullivan, LLP, in its capacity as counsel to the putative 2016 Term Loan group; (h) Akin Gump

Strauss Hauer & Feld, LLP, in its capacity as counsel to an ad hoc group of 2016 Term Loan

lenders; (i) Paul Hastings LLP, as counsel to Jefferies Finance LLC, in its capacity as BrandCo

agent and DIP agent; (j) Davis Polk & Wardwell LLP and Kobre & Kim LLP, in their capacity as

counsel to the ad hoc group of Term Loan DIP lenders and BrandCo lenders; (k) King & Spalding,

LLP, in its capacity as counsel to Blue Torch Finance LLC, in its capacity as Foreign ABTL

Facility administrative agent; (l) U.S. Bank National Association, as indenture trustee for the

Debtors’ pre-petition unsecured notes, and any counsel thereto; (m) the United States Attorney’s

Office for the Southern District of New York; (n) the Internal Revenue Service; (o) the Securities

Exchange Commission; (p) the attorneys general for the states in which the Debtors operate; and

(q) any party that has requested notice pursuant to Bankruptcy Rule 2002. The Debtors submit

that, in light of the nature of the relief requested, no other or further notice need be given.

                                         No Prior Request

       15.     No prior request for the relief sought in this motion has been made to this or any

other court.

                            [Remainder of page intentionally left blank.]




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       WHEREFORE, the Debtors respectfully request entry of an order, substantially in the form

attached hereto as Exhibit A, granting the relief requested herein and granting such other relief as

is just and proper.

New York, New York                             /s/ Paul M. Basta
Dated: June 15, 2022                           Paul M. Basta, Esq.
                                               Alice Belisle Eaton, Esq.
                                               Kyle J. Kimpler, Esq.
                                               Robert A. Britton, Esq.
                                               Brian Bolin, Esq.
                                               PAUL, WEISS, RIFKIND, WHARTON &
                                               GARRISON LLP
                                               1285 Avenue of the Americas
                                               New York, NY 10019
                                               Telephone: (212) 373-3000
                                               Facsimile: (212) 757-3990
                                               pbasta@paulweiss.com
                                               aeaton@paulweiss.com
                                               kkimpler@paulweiss.com
                                               rbritton@paulweiss.com
                                               bbolin@paulweiss.com

                                               Proposed Counsel to the Debtors and Debtors in
                                               Possession




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                                    Exhibit A

                                 Proposed Order
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                              )
In re:                                        )   Chapter 11
                                              )
REVLON, INC.,                                 )   Case No. 22-10760 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
ALMAY, INC.,                                  )   Case No. 22-10770 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
ART & SCIENCE, LTD.,                          )   Case No. 22-10774 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BARI COSMETICS, LTD.,                         )   Case No. 22-10786 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BEAUTYGE BRANDS USA, INC.,                    )   Case No. 22-10795 (___)
                                              )
                    Debtor.                   )
                                              )
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Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BEAUTYGE I,                                   )   Case No. 22-10801 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BEAUTYGE II, LLC,                             )   Case No. 22-10803 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BEAUTYGE U.S.A., INC.,                        )   Case No. 22-10800 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BRANDCO ALMAY 2020 LLC,                       )   Case No. 22-10762 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BRANDCO CHARLIE 2020 LLC,                     )   Case No. 22-10764 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )


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                                              )
In re:                                        )   Chapter 11
                                              )
BRANDCO CND 2020 LLC,                         )   Case No. 22-10767 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BRANDCO CURVE 2020 LLC,                       )   Case No. 22-10771 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BRANDCO ELIZABETH ARDEN 2020 LLC,             )   Case No. 22-10773 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BRANDCO GIORGIO BEVERLY HILLS                 )   Case No. 22-10777 (___)
2020 LLC,                                     )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BRANDCO HALSTON 2020 LLC,                     )   Case No. 22-10780 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )


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                                              )
In re:                                        )   Chapter 11
                                              )
BRANDCO JEAN NATE 2020 LLC,                   )   Case No. 22-10783 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BRANDCO MITCHUM 2020 LLC,                     )   Case No. 22-10789 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BRANDCO MULTICULTURAL GROUP                   )   Case No. 22-10792 (___)
2020 LLC,                                     )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BRANDCO PS 2020 LLC,                          )   Case No. 22-10797 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
BRANDCO WHITE SHOULDERS 2020 LLC,             )   Case No. 22-10798 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )


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In re:                                        )   Chapter 11
                                              )
CHARLES REVSON INC.,                          )   Case No. 22-10802 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
CREATIVE NAIL DESIGN, INC.,                   )   Case No. 22-10804 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
CUTEX, INC.,                                  )   Case No. 22-10805 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
DF ENTERPRISES, INC.,                         )   Case No. 22-10806 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
ELIZABETH ARDEN (CANADA) LIMITED,             )   Case No. 22-10796 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )


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ELIZABETH ARDEN (FINANCING), INC.,            )   Case No. 22-10807 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
ELIZABETH ARDEN (UK) LTD.,                    )   Case No. 22-10793 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
ELIZABETH ARDEN INVESTMENTS, LLC,             )   Case No. 22-10808 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
ELIZABETH ARDEN NM, LLC,                      )   Case No. 22-10809 (___)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
ELIZABETH ARDEN TRAVEL                        )   Case No. 22-10810 (___)
RETAIL, INC.,                                 )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
ELIZABETH ARDEN USC, LLC,                     )   Case No. 22-10761 (___)


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                                              )
                     Debtor.                  )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
ELIZABETH ARDEN, INC.,                        )   Case No. 22-10763 (___)
                                              )
                     Debtor.                  )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
FD MANAGEMENT, INC.,                          )   Case No. 22-10765 (___)
                                              )
                     Debtor.                  )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
NORTH AMERICA REVSALE INC.,                   )   Case No. 22-10768 (___)
                                              )
                     Debtor.                  )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
OPP PRODUCTS, INC.,                           )   Case No. 22-10769 (___)
                                              )
                     Debtor.                  )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
                                              )
In re:                                        )   Chapter 11
                                              )
PPI TWO CORPORATION,                          )   Case No. 22-10787 (___)
                                              )


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                    Debtor.                    )
                                               )
Tax I.D. No. N/A                               )
                                               )
                                               )
In re:                                         )   Chapter 11
                                               )
RDEN MANAGEMENT, INC.,                         )   Case No. 22-10772 (___)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
                                               )
 In re:                                        )   Chapter 11
                                               )
 REALISTIC ROUX PROFESSIONAL                   )   Case No. 22-10775 (___)
 PRODUCTS INC.,                                )
                                               )
                    Debtor.                    )
                                               )
 Tax I.D. No. XX-XXXXXXX                       )
                                               )
                                               )
In re:                                         )   Chapter 11
                                               )
REVLON PROFESSIONAL HOLDING                    )
COMPANY LLC                                    )   Case No. 22-10788 (___)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
                                               )
In re:                                         )   Chapter 11
                                               )
REVLON CANADA INC.,                            )   Case No. 22-10799 (___)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. N/A                               )
                                               )
                                               )
In re:                                         )   Chapter 11
                                               )
REVLON CONSUMER PRODUCTS                       )   Case No. 22-10766 (___)
CORPORATION,                                   )


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                                               )
                      Debtor.                  )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
                                               )
In re:                                         )   Chapter 11
                                               )
REVLON DEVELOPMENT CORP.,                      )   Case No. 22-10778 (___)
                                               )
                      Debtor.                  )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
                                               )
In re:                                         )   Chapter 11
                                               )
REVLON GOVERNMENT SALES, INC.,                 )   Case No. 22-10781 (___)
                                               )
                      Debtor.                  )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
                                               )
In re:                                         )   Chapter 11
                                               )
REVLON INTERNATIONAL                           )   Case No. 22-10785 (___)
CORPORATION,                                   )
                                               )
                      Debtor.                  )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
                                               )
In re:                                         )   Chapter 11
                                               )
REVLON (PUERTO RICO) INC.,                     )   Case No. 22-10790 (___)
                                               )
                      Debtor.                  )
                                               )
Tax I.D. No. N/A                               )
                                               )
                                               )
In re:                                         )   Chapter 11
                                               )
RIROS CORPORATION,                             )   Case No. 22-10791 (___)
                                               )


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                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
                                               )
In re:                                         )   Chapter 11
                                               )
RIROS GROUP INC.,                              )   Case No. 22-10794 (___)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
                                               )
In re:                                         )   Chapter 11
                                               )
RML, LLC,                                      )   Case No. 22-10784 (___)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. N/A                               )
                                               )
                                               )
In re:                                         )   Chapter 11
                                               )
ROUX LABORATORIES, INC.,                       )   Case No. 22-10776 (___)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
                                               )
In re:                                         )   Chapter 11
                                               )
ROUX PROPERTIES JACKSONVILLE,                  )   Case No. 22-10779 (___)
LLC,                                           )
               Debtor.                         )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
                                               )
In re:                                         )   Chapter 11
                                               )
SINFULCOLORS INC.,                             )   Case No. 22-10782 (___)
                                               )
                    Debtor.                    )
                                               )


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    Tax I.D. No. XX-XXXXXXX                                    )
                                                               )

                    ORDER (A) DIRECTING JOINT ADMINISTRATION
               OF CHAPTER 11 CASES AND (B) GRANTING RELATED RELIEF

          Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”) (a) directing the joint

administration of the Debtors’ chapter 11 cases for procedural purposes only and (b) granting

related relief, all as more fully set forth in the Motion; and upon the First Day Declaration; and

this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the Southern

District of New York, dated January 31, 2012; and this Court having the power to enter a final

order consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having found that the Debtors’ notice of the Motion and opportunity for

a hearing on the Motion were appropriate under the circumstances and no other notice need be

provided; and this Court having reviewed the Motion and having heard the statements in support

of the relief requested therein at a hearing before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion and at the Hearing establish just

cause for the relief granted herein; and upon all of the proceedings had before this Court; and after

due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

          1.       The Motion is granted as set forth herein.

          2.       The above-captioned chapter 11 cases are consolidated for procedural purposes

only and shall be jointly administered by this Court under Case No. 22-10760 (___).


1
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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             3.   The caption of the jointly administered cases should read as follows:


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                             )
    In re:                                                   )    Chapter 11
                                                             )
    REVLON, INC., et al.,1                                   )    Case No. 22-10760 (___)
                                                             )
                                   Debtors.                  )    (Jointly Administered)
                                                             )

1     The last four digits of Debtor Revlon, Inc.’s tax identification number are 2955. Due to the
      large number of debtor entities in these Chapter 11 Cases, for which the Debtors have requested
      joint administration, a complete list of the debtor entities and the last four digits of their federal
      tax identification numbers is not provided herein. A complete list of such information may be
      obtained on the website of the Debtors’ proposed claims and noticing agent at
      https://cases.ra.kroll.com/Revlon. The location of the Debtors’ service address for purposes of
      these Chapter 11 Cases is: One New York Plaza, New York, NY 10004.

             4.   The foregoing caption satisfies the requirements set forth in section 342(c)(1) of

the Bankruptcy Code.

             5.   A docket entry, substantially similar to the following, shall be entered on the docket

of each of the Debtors other than Revlon, Inc. to reflect the joint administration of these chapter 11

cases:

                  An order has been entered in accordance with rule 1015(b) of the
                  Federal Rules of Bankruptcy Procedure directing the joint
                  administration of the chapter 11 cases of: Revlon, Inc., Case No.
                  22-10760 (___); Almay, Inc., Case No. 22-10770 (___); Art &
                  Science, Ltd., Case No. 22-10774 (___); Bari Cosmetics, Ltd., Case
                  No. 22-10786 (___); Beautyge Brands USA, Inc., Case No. 22-
                  10795 (___); Beautyge I, Case No. 22-10801 (___); Beautyge II,
                  LLC, Case No. 22-10803; Beautyge U.S.A., Inc., Case No. 22-
                  10800 (___); BrandCo Almay 2020 LLC, Case No. 22-10762 (___);
                  BrandCo Charlie 2020 LLC, Case No. 22-10764 (___); BrandCo
                  CND 2020 LLC, Case No. 22-10767 (___); BrandCo Curve 2020
                  LLC, Case No. 22-10771 (___); BrandCo Elizabeth Arden 2020
                  LLC, Case No. 22-10773 (___); BrandCo Giorgio Beverly Hills
                  2020 LLC, Case No. 22-10777 (___); BrandCo Halston 2020 LLC,
                  Case No. 22-10780 (___); BrandCo Jean Nate 2020 LLC, Case No.


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               22-10783 (___); BrandCo Mitchum 2020 LLC, Case No. 22-10789
               (___); BrandCo Multicultural Group 2020 LLC, Case No. 22-10792
               (___); BrandCo PS 2020 LLC, Case No. 22-10797 (___); BrandCo
               White Shoulders 2020 LLC, Case No. 22-10798 (___); Charles
               Revson Inc., Case No. 22-10802 (___); Creative Nail Design, Inc.,
               Case No. 22-10804 (___); Cutex, Inc., Case No. 22-10805 (___);
               DF Enterprises, Inc., Case No. 22-10806 (___); Elizabeth Arden
               (Canada) Limited, Case No. 22-10796 (___); Elizabeth Arden
               (Financing), Inc., Case No. 22-10807 (___); Elizabeth Arden (UK)
               Ltd., Case No. 22-10793 (___); Elizabeth Arden Investments, LLC,
               Case No. 22-10808 (___); Elizabeth Arden NM, LLC, Case No. 22-
               10809 (___); Elizabeth Arden Travel Retail, Inc., Case No. 22-
               10810 (___); Elizabeth Arden USC, LLC, Case No. 22-10761 (___);
               Elizabeth Arden, Inc., Case No. 22-10763 (___); FD Management,
               Inc., Case No. 22-10765 (___); North America Revsale Inc., Case
               No. 22-10768 (___); PPI Two Corporation, Case No. 22-10787
               (___); OPP Products, Inc., Case No. 22-10769 (___); RDEN
               Management, Inc., Case No. 22-10772 (___); Realistic Roux
               Professional Products Inc., Case No. 22-10775 (___); Revlon
               Canada Inc., Case No. 22-10799 (___); Revlon Consumer Products
               Corporation, Case No. 22-10766 (___); Revlon Development Corp.,
               Case No. 22-10778 (___); Revlon Government Sales, Inc., Case No.
               22-10781 (___); Revlon International Corporation, Case No. 22-
               10785 (___); Revlon Professional Holding Company LLC, Case No.
               22-10788 (___); Revlon (Puerto Rico), Inc. Case No. 22-10790
               (___); Riros Corporation, Case No. 20-10791 (___); Riros Group
               Inc., Case No. 22-10794 (___); RML, LLC, Case No. 22-10784
               (___); Roux Laboratories, Inc., Case No. 22-10776 (___); Roux
               Properties Jacksonville, LLC, Case No. 22-10779 (___);
               SinfulColors Inc., Case No. 22-10782 (___). All further pleadings
               and other papers shall be filed in and all further docket entries shall
               be made in Case No. 22-10760 (___).

       6.      One consolidated docket, one file, and one consolidated service list shall be

maintained by the Debtors and kept by the Clerk of the Court with the assistance of the claims and

noticing agent retained by the Debtors in these chapter 11 cases.

       7.      The Debtors shall file their monthly operating reports required by the Operating

Guidelines and Reporting Requirements for Debtors in Possession and Trustees, issued by the

U.S. Trustee, in accordance with the applicable Instructions for UST Form 11-MOR: Monthly

Operating Report and Supporting Documentation.



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       8.      Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases and this Order

shall be without prejudice to the rights of the Debtors to seek entry of an order substantively

consolidating their respective cases.

       9.      Nothing contained in this Order shall be deemed or construed as conferring

standing on any party in interest in any Debtor’s chapter 11 case to appear in any other Debtor’s

chapter 11 case absent any such right under section 1109 of the Bankruptcy Code.

       10.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rules and the Local Rules are satisfied by

such notice.

       11.     The Debtors are authorized to take all reasonable actions necessary to effectuate

the relief granted in this Order in accordance with the Motion.

       12.     The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.



 New York, New York
 Dated: ____________, 2022

                                                   UNITED STATES BANKRUPTCY JUDGE




                                                 14
